

People v Monecha D.S. (2022 NY Slip Op 00277)





People v Monecha D.S.


2022 NY Slip Op 00277


Decided on January 18, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 18, 2022

Before: Renwick, J.P., Webber, Oing, Scarpulla, Pitt, JJ. 


Ind. No. 3118/17 Appeal No. 15076 Case No. 2019-4497 

[*1]The People of the State of New York, Respondent,
vMonecha D.S., Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (David J. Klem of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Alan Gadlin of counsel), for respondent.



Judgment, Supreme Court, New York County (Guy H. Mitchell, J. at plea; Gayle P. Roberts, J. at sentencing), rendered May 3, 2019, convicting defendant of grand larceny in the third degree, adjudicating her a youthful offender, and sentencing her to a conditional discharge, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers and the People's consent, we vacate
the surcharge and fees imposed at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 18, 2022








